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EXHIBIT 13
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Westlaw.

Not Reported in N.W.2d, 2004 WL 405920 (Mich.App.)
{Cite as: 2004 WL 405926 (Mich.App.))

Cc

Only the Westlaw citation is currently available.

UNPUBLISHED OPINION. CHECK COURT
RULES BEFORE CITING.

Court of Appeals of Michigan.

Jag KAUL, Plaintiff?
Counter-Defendant/Third-Party Defendant-Ap-
pellee,

v.

Kamal RAINA and Kamini Raina, Defendants/
Counter-Plaintiffs/Third-Party Plaintiffs-Appel-
lants,
and
Manmohan. KAUL, Orthro Neuro Rehabilitation,
Iinc., and Allied Rehabilitation Services, Counter-
Defendants/Third-Party Defendants-Appellecs.

No. 244045,
March 4, 2004.

Before: BORRELLO, P.J., and WHITE and
SMOLENSK], JF.

fUNPUBLISHED]
PER CURIAM.

*)] Defendants/Counter-Plaintiffs (defendants)
appeal as of right the circuit court's order dismiss-
ing their counter-claims of eavesdropping, invasion
of privacy, extortion, intentional infliction of emo-
tional distress, and violation of public policy. We
affirm in part and reverse in part.

Defendants Kamal and Kamini Raina, husband
and wife, formerly worked for companies owned by
plaintiff/counter-defendant (plaintiff) Jag Kaui and
his brother, Manhoman Kaul. Plaintiff Jag Kaul
filed suit against the Rainas alleging that they had
failed to repay $10,000 he loaned them to obtain a
mortgage. The Rainas responded that the
money was a gift and counter-complained. On
cross-motions for summary disposition, the circuit

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court dismissed plaintiff Jag Kaul's complaint. Jag
Kaul did not appeal that ruling.

FN1. Jag Kaul's complaint also alleged
breach of contract, fraud, defamation, and
unjust enrichment.

The circuit court also dismissed defendants’
counter-complaint in its entirety under MCR
2.116(C}(10), Defendants appeal the dismissal of
their claims of eavesdropping, invasion of privacy,
extortion, intentional infliction of emotional dis-
tress and violation of public policy.

FN2. Defendants do not appeal the dis-
missal of their national origin discrimina-
tion, fraud and misrepresentation, failure to
pay prevailing wages, breach of contract,
and intentional interference with a contrac-
tual relationship claims.

This Court reviews de novo the circuit court's
grant of summary disposition. Spiek v Dep't of
Transportation, 456 Mich. 331, 337, 572 NW2d
201 (1998). When reviewing a(C)(10) motion, a tri-
al court considers affidavits, pleadings, depositions,
admissions, and cther documentary evidence sub-
mitted by the parties in the light most favorable to
the nonmoving party. Quinto v Cross & Peters Co,
451 Mich. 358, 362; 547 NW2d 314 (1996). The
court may grant the motion if the documentary
evidence shows there is no genuine issue as to any
material fact, and the moving party is entitled to
judgment as a matter of law. Id., citing MCR
2.116(C)(10}, (G4).

I
Defendants argue the circuit court erred by dis-
missing their claim of eavesdropping, invasion of
privacy and extortion.

FN3. These were pleaded as one claim.

Defendants’ counter-complaint alleged that Jag
Kaul and the third-party defendants either individu-

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ally or in conspiracy with each other unlawfully
used electronic eavesdropping equipment to
secretly record private conversations between
Kamini Raina and others, without Kamini Raina's
consent, which conversations contained intimate
details of a highly personal nature. Defendants'
counter-complaint further alleged that Kaul and the
third-party defendants disseminated copies of cas-
sette tapes containing these conversations to de-
fendant Kamal Raina and others, knowing that pub-
lication of the tapes would reveal Kamini Raina’s
private affairs to others, and that any reasonable
person would find such revelations highly offens-
ive, embarrassing and humiliating. The counter-
complaint alleged that Kaul and the third-party de-
fendants threatened Kamini Raina that the tapes
would be disseminated, and by inference attempted
to threaten Kamal Raina that he would be humili-
ated and embarrassed if he cooperated with any in-
vestigation of their unlawful or unethical acts. De-
fendants further alleged that the invasion of privacy
of the Rainas by use of unlawful eavesdropping was
an attempt to extort money from them and done in-
tentionally and with malice, in violation of state
and federal law.

*2 The circuit court concluded in pertinent
part:

Defendant claims Plaintiff tape-recorded her tele-
phone conversations arising from her adulterous
affair. The telephone conversations allegedly oc-
curred in the work place. However, Defendants
have been unable to present any evidence that

' Plaintiff was involved in the tape-recording of the
telephone conversations. Instead, Defendants rely
on contradictory affidavits and hearsay, which is
not to be considered by the Court in reviewing a
motion of this nature. Thus, summary disposition
is appropriate pursuant to MCR 2.116(C)(10).

A
MCL 750.539d provides in pertinent part:

Any person who installs in any private place,
without the consent of the person or persons en-

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titled to privacy there, any device for observing,
photographing, or eavesdropping upon the sounds
or events in such places, or uses any such unau-
thorized installation, is guilty of a felony punish-
able by imprisonment in a state prison for not
more than 2 years or by a fine of not more than
$2,000.00, or both.

MCL 750.5394 provides civil remedies for vi-
olation of the eavesdropping statute:
Any parties to any conversation upon which
eavesdropping is practiced contrary to this act
shall be entitled to the following civil remedies:

(a) An injunction by a court of record prohibit-
ing further eavesdropping.

(b) All actual damages against the person who
eavesdrops. .

(c) Punitive damages as determined by the
court or by a jury.

MCL 750.5391 provides that:
In any criminal or civil action, proof of the in-
stallation in any private place of any device
which may be used for the purposes of violating
the provisions of this act shall be prima facie
evidence of a violation of section 539d.

B

‘ Intrusion upon seclusion is one of the categor-
ies of invasion of privacy. Beaumont v Brown,
401 Mich. 80, 95-98, 257 NW2d 522 (1977), over-
ruled in part on other grounds Bradiey v Saranac
Comm Schools Bd of Ed, 455 Mich. 285, 301-302;
565 NW2d 6350 (1997). A cause of action for intru-
sion has the following elements: 1) an intrusion by
the defendant, 2) into a matter in which the plaintiff
has a right of privacy, and 3) by a means or method
that would be found objectionable by a reasonable
person. Saldana v Kelsey-Hayes Co, 178 Mich.App
230, 233; 443 NW2d 382 (1989). The duty to re-
frain from intrusion into another's private affairs is
not absolute; rather, it is limited by those rights
arising from social conditions, including the busi-

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ness relationship. Id. at 234. “Whether the intru-
sion is objectionable to a reasonable person is a fac-
tual question best determined by a jury.” Id. Dam-
ages are available to compensate for mental suffer-
ing, shame or humiliation. Harkey v Abate, 131
Mich.App 177, 180; 346 NW2d 74 (1983). The
question in an intrusion upon seclusion case is
“whether plaintiff intended and reasonably expec-
ted that the conversation was private, not whether
the subject matter was intended to be private.”
Dickerson ¥ Raphael, 461 Mich. 851; 601 NW2d
108 (1999),

FN4. Reversing in part Dickerson v.
Raphael, 222 Mich.App 185; 564 NW2d
85 (1997).

c

*3 We conclude that defendants presented
evidence sufficient to withstand plaintiff's motion
for summary disposition of the invasion of privacy/
eavesdropping claim. Kamini Raina testified that
she did not consent to the recording of her conver-
gations. She also testified, and in an affidavit stated,
that Manmohan Kaul told her he had taped her con-
versations in the workplace and that she had to have
sex with him or he would disclose the tapes' con-
tents to her husband and others, Defendant Kamini
Raina testified that tapes of such conversations
between herself and her lover were delivered to her
house and to her husband's new place of employ-
ment, that the tapes were of phone conversations
she had had from work, and that she had tumed
copies of the tapes over to the FBI. Her affidavit
stated that she did not disclose her affair to her hus-
band until after the tape was sent to their home.
Chaman Bhan testified at deposition that plaintiff
Jag Kaul played a tape for him of a conversation in
which he recognized Kamini Raina's voice, that
portions of the conversation were of a highly intim-
ate sexual nature, and that he was unaware that
Kamini Raina was having an extra-marital affair
before he heard this tape.

We conclude that there was evidence from
which a reasonable jury could find that plaintiff Jag

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Kaul and/or third-party defendant Manmohan Kaul
intmded into phone conversations defendant
Kamini Raina had at work, which she intended and
reasonably expected were private, without her con-
sent. We conclude that this method of intrusion, the
covert taping of private employee phone conversa-
tions by employers, could be found objectionable
by a reasonable person, as could threatening an em-
ployee with exposure of such tapes absent her
agreement to engage in certain conduct. The Kauls
offer no explanation for taping Kamini Raina's
phone conversations; they do not allege, for ex-
ample, that they were legitimately investigating her
work performance. See Saldana, supra at 234-235
(noting that the defendants’ surveillance of the
plaintiff at his home was part of legitimate investig-
ation of suspected illegal conduct in the course of
employment; specifically, that the plaintiff's work-
related disability was a pretext}. Although some of
the evidence defendants relied on was hearsay,

the circuit court's conclusion that defendants
presented no evidence that plaintiff was involved in
eavesdropping and invading Kamini Raina's pri-
vacy was error, given the evidence summarized
above. ,

FNS, Kilgore's testimony was. largely
hearsay.

Defendants also challenge the dismissal of their
claim for extortion, but cite no authority in
support of their argument or in support of a civil
remedy based on the statute. Defendants thus have
not properly presented this issue; they have not
properly addressed the merits of their assertion of
error and have thus abandoned the issue. Yee v Shi-
awassee County Bd of Comm'rs, 251 Mich.App
379, 406; 651 NW2d 736 (2002).

FN6. MCL 750.213 provides:

Malicious threats to extort money-Any
person who shall, either orally or by a
written or printed communication, mali-
ciously threaten to accuse another of any
crime or offense, or shall orally or by

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any written or printed communication
maliciously threaten any injury to the
person or property or mother, father,
husband, wife or child of another with
intent thereby to extort money or any pe-
cuniary advantage whatever, ot with in-
tent to compel the person, so threatened
to do or refrain from doing any act
against his will, shall be guilty of a
felony, punishable by imprisonment in
the state prison for not more than 20
years or by a fine of not more than
10,000 dollars.

il
Defendants next argue that the circuit court
erred by dismissing their claim of intentional inflic-
tion of emotional distress. We disagree.

*4 To establish a cause of action for the tort of
intentional infliction of emotional distress, a party
must prove the following elements: (1) extreme and
outrageous conduct; (2) intent or recklessness; (3}
causation; and (4) severe emotional distress. Doe v
Mills, 212 Mich.App 73, 91; 536 NW2d 824 (1995)
, citing Linebaugh v Sheraton Michigan Corp, 198
Mich. App 335, 342; 497 NW2d 385 (1993).

Liability for extreme and outrageous conduct
“has been found only where the conduct has been
s0 outrageous in character, and so extreme in de-
gree, as to go beyond all possible bounds of de-
cency, and to be regarded as atrocious, and utterly
intolerable in a civilized community.” Roberts v
Auto-Owners Ins Co, 422 Mich. 594, 602-603; 374
NW2d 905 (1985), quoting Restatement Torts, 2d §
46, comment d, pp 72-73.

Although defendants testified at deposition that
they were highly upset and depressed when the
tapes were divulged, there was no evidence that
either of them sought counseling, medical treat-
ment, or medication. We conclude that defendants
failed to present evidence of severe emotional dis-
tress, and that their claim was thus properly dis-
missed.

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Til
Defendants next argue that the circuit court
erred by dismissing their claim of violation of pub-
lic policy We disagree.

“At will’ employment is presumed in
Michigan. Lynas v Maxwell Farms, 279 Mich. 684,
687; 273 NW 315 (1937). Generally, under an at-
will relationship, an employee may be terminated
with or without cause “at any time for any, or no,
reason.” Vagts v Perry Drug Stores, Inc, 204
Mich.App 481, 484; 516 NW2d 102 (1994), quot-
ing Suchodolski v Gas Co, 412 Mich. 692,
694-695; 316 NW2d 710 (1982). However, “some
grounds for discharging an employee are so con-
trary to public policy as to be actionable.” Phillips
v Butterball Farnis, 448 Mich. 239, 244; 531 NW2d
144 (1995), “A cause of action has been found to be
implied where the alleged reason for the discharge
of the employee was the failure or refusal to violate
a law in the course of employment.” Suchodolski,
supra at 695; see also Trombetta v Detroit, T& IR
Co, 81 Mich.App 489; 265 NW2d 385 (1978)
(discharging an employee for refusing to falsify
state-required pollution control reports).

Defendants correctly argue that the circuit
court erred when it held that a claim for violation of
public policy could be found only where the ter-
minated employee acted in accordance with a stat-
utory duty. A claim for violation of public policy
can also be found when an employee is terminated
for refusal] to violate the law. Suchodolski, supra,
412 Mich. at 695. However, the circuit court
reached the right result in dismissing this claim, al-
beit for the wrong reason. Portice v Otsego Co
Sheriff's Dep't, 169 Mich.App 563, 566; 426 NW2d
706 (1988),

Defendant Kamal Raina's affidavit and depos-
ition testimony indicate that he refused to sign a
fraudulent wage verification for plaintiff's wife so
she could obtain insurance benefits. However, there
was no evidence that his refusal to sign a fraudulent
wage verification for an insurance claim was a
factor in plaintiff's decision to terminate his em-

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ployment. See Quinto, supra at 362-362
(nonmoving party must present documentary evid-
ence demonstrating existence of a factual dispute,
mere allegations and unsupported assertions are in-
sufficient to satisfy burden). Thus, defendants
failed te demonstrate the existence of a genuine is-
sue of material fact in support of the claim that
Kamal Raina was terminated from his position for
refusitig to engage in conduct that would have viol-
ated the law,

*5 We affirm the dismissal of defendants’ ex-
tortion, intentional infliction of emotional distress,
and violation of public policy claims. We reverse
the dismissal of defendants’ claim of invasion of
privacy/eavesdropping. We do not retain jurisdic-
tion.

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